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                                      Paul H. Schoeman                1177 Avenue of the Americas
                                      Partner                         New York, NY 10036
                                      T 212.715.9264                  T 212.715.9100
                                      F 212.715.8064                  F 212.715.8000
                                      PSchoeman@kramerlevin.com


October 19, 2020


Via ECF

The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

          Re:    United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

               We write with the consent of the government to request a modification of the
briefing schedule for the parties’ motions in limine, which will be filed on October 23, 2020, as
previously scheduled. (See Dkt No. 93).

              The parties jointly request that the time to respond to the motions be extended
from October 30 to November 13, 2020, and that the parties be permitted to file replies on or
before November 20, 2020.


Respectfully submitted,

/s/ Paul H. Schoeman

Paul H. Schoeman
Darren A. LaVerne

cc:       All counsel (via ECF)




KRAMER LEVIN NAFTALIS & FRANKEL LLP                                   NEW YORK | SILICON VALLEY | PARIS
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